\OOO\]O'\U!-PL»J[\)r-*

[\)l\)l\)[\)[\)[\)[\.)!\)[\)r-d)-lr-l)-‘>-‘)-‘>_¢>_a,_‘y_¢
OO\]O\Lh-PW[\)*_‘O\OOO\]O\LJl-I>~W[\)'_‘C

 

_2§_ Fu.ED

 

 

 

 

 

 

______ LODGED
____ REcEcvl-:n ___ copy
APR 0 5 2 018
ELIZABETH A. STRANGE
First Assistant United States Attorney CLERK U S D|STR|CT couRT
District of Arizona glsTRlcr oF ARlzoNA
BY_.-_>L\_B; DEPuTY
KEVIN M. RAPP (Ariz. Bar No. 14249, kevin.rapp@usdoi.go.v)
DOMTNIC LANZA (Cal. Bar No. 225989, dominic.lanza@usdoi.gov)
MARGARET PERLMETER (Ariz. Bar No. 024805, margaret.perlmeter@usdoi.gov)

 

J()HN J. KUCERA (Cal. Bar No. 274184, iohn.l<ucera@usdoi.gov)
Assistant U.S. Attorneys

40 N. Central Avenue, Suite 1800

PhoeniX, Arizona 85004-4408

Telephone (602) 514-7500

JOHN P. CRONAN
Acting Assi_st_ant Attorne General _
Criminal valsion, U.S. epartment of Justice

REGINALD E. JONES (Miss. Bar No. 102806, reginald.iones4@usdoi.go
Senior Trial Attorney, U.S. Department of Justice '

Child Exploitation and Obscenity Section

950 Pennsylvania Ave N.W., Room 2116

Washington, D.C. 20530

Telephone (202 616-2807

Attorneys for P aintiff

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

United States of America,

Plaintiff, NO, CR-18-464-PHX-DJH
V.
TN.' Car|A||enFerrer INFORMATION
Carl Ferrer
VIO: 18 U.S.C. § 371
(Conspiracy)
Defendants.

 

 

THE UNITED STATES ATTORNEY’S OFFICE CHARGES:

Beginning no later than 2004, and continuing through in or around March 2018, in

the District of Arizona and elsewhere, defendant CARL FERRER knowingly and

intentionally agreed, confederated, and conspired With others to commit the offenses of

Travel Act_Facilitate Prostitution (18 U.S.C. § l952(a)(3)(A)), Conce

alment Money

Laundering ( 18 U.S.C. § l956(a)(l)(B)(i)), International Promotional Money Laundering

(18 U.S.C. § l956(a)(2)(A)), Transactional Money Laundering (18 U.S.

C. § 1957(3)),

and International Concealment Money Laundering (18 U.S.C. § l956(a)(2)(B)(i)), and

cc: AUSA, Defense Counse|, PTS, USPO

 

 

 

\OOO\]O\U\-l>L)JI\))-¢

[\)[\)l\)[\)[\){\)[\)[\)[\))-l>-a)-‘)-l>-‘>-iv_l>-)-¢>-\
OO\IO\UI-l>b~)[\)>‘-*C\OOO\]O\L/l-I>W[\)*_‘O

 

one of the members of the conspiracy performed at least one overt act for the purpose of

carrying out the conspiracy

All in violation of 18 U.S.C. § 371.

Dated this Me/vc/) QOY,. 20/ g .

ELIZABETH A. STRANGE
First Assistant United States Attorney
District of Arizona

JOHN P. C_RONAN
Acting Asslstant Attorne General
Criminal Division, U.S. epartm :nt of Justice

AM W/
KEVIN RAPP
DOMINIC LANZA
MARGARET PERLMETER
JOHN J. KUCERA

Assistant U.S. Attomeys

REGINALD JONES
Senior Trial Attorney

 

 

